Case 3:19-cv-00574-BJD-MCR Document 323 Filed 03/04/22 Page 1 of 17 PageID 12884




                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                          JACKSONVILLE DIVISION

  BLUE CROSS AND BLUE SHIELD OF
  FLORIDA, INC. and HEALTH
  OPTIONS, INC.,
                                                 Case No. 3:19-cv-00574-BJD-MCR
        Plaintiffs,

  v.

  DAVITA, INC. f/k/a DAVITA
  HEALTHCARE PARTNERS INC.,

        Defendant.

   DAVITA’S REPLY IN SUPPORT OF SUMMARY JUDGMENT MOTION
        DaVita is entitled to summary judgment. Florida Blue’s opposition rests on
  two primary assertions: (1) it was impermissible for members to use CPA to pay

  premiums; and (2) DaVita systematically waived patient cost-shares. Yet, the
  undisputed evidence directly contradicts both assertions. Florida Blue does not, and
  cannot, point to any language in either the Provider Agreement or its member plans

  forbidding members from using CPA or receiving hardship waivers. Florida Blue
  does not cite a single instance of any improper cost-share waiver, and
  mischaracterizes the instances where DaVita was unable to collect cost-shares as

  systemic waiver. And Florida Blue does not even attempt to dispute the evidence
  that it was well aware – for years before it filed this lawsuit – that DaVita contributed
  to AKF, AKF provided CPA to dialysis patients, and Florida Blue’s members used

  CPA to pay premiums. In fact,
Case 3:19-cv-00574-BJD-MCR Document 323 Filed 03/04/22 Page 2 of 17 PageID 12885




            . Moreover, Florida Blue was compensated handsomely under the ACA’s

  risk adjustment program for insuring the patients at issue, and has suffered no
  damages. DaVita’s motion should be granted.
      I.   Statement of Undisputed Material Facts (“SOF”)

           Florida Blue concedes as undisputed DaVita’s SOF paragraphs: 1-4
  (background on ESRD patients); 5 (Florida Blue is an insurer and not a healthcare
  provider); 7 (“ACA advances societal goal improving care of disadvantaged patients

  and patients with pre-existing conditions, including ESRD patients.”); 10 (AKF has
  openly supported ESRD patients for decades); 12 (“AKF does not refer patients to
  DaVita.”); 15-21 (Provider Agreement provisions); 23 (“DaVita provided the

  dialysis services for which it submitted claim forms.”); and 26 (“Florida Blue’s
  member plans do not prohibit members from receiving hardship waivers.”). With
  respect to the following SOF paragraphs that Florida Blue “disputes,” it does not

  meaningfully rebut those paragraphs with actual evidence as required by Rule 56 1:
           6. Florida Blue does not genuinely dispute that there are many reasons ESRD
  patients would prefer commercial insurance over government insurance.2

           8. Florida Blue does not dispute that DaVita provided insurance education to
  patients or that by the time patients express financial hardship and interest in

  1
    See generally Dowler v. GEICO Gen. Ins. Co., 2021 WL 3563018, at *3 (M.D. Fla. Aug. 12,
  2021) (“A factual dispute alone is not enough to defeat a properly pled motion for summary
  judgment; only the existence of a genuine issue of material fact will preclude a grant of summary
  judgment.”).
  2
    Florida Blue opines that patients are “generally better off enrolling in governmental rather than
  commercial insurance” and identifies               certain patients purportedly had on commercial
  insurance, see ECF 278 at 4-5, but those statements do not rebut paragraph 6.


                                                  2
Case 3:19-cv-00574-BJD-MCR Document 323 Filed 03/04/22 Page 3 of 17 PageID 12886




  receiving AKF assistance, they are already treating with DaVita. Instead, Florida
  Blue cites to 56 pages of the Browne Report to argue (incorrectly, see ¶ 29 infra) a

  different point – that patients were “steered,” solely for DaVita’s financial gain. The
  documents Florida Blue cites show that the Medicaid-to-Exchange Opportunity
  represented a chance for patients to obtain better coverage and quality of life. See

  ECF 284 at 6. In other words, the interests of DaVita and its patients were aligned.
           9. Florida Blue disputes that DaVita ICs and SWs did not submit applications
  to Florida Blue, but its counter-evidence shows that


                     .3
           11. Florida Blue purports to dispute AKF’s independence from dialysis

  contributors, but the documents cited in opposition show that AKF is not a mere
  pass-through for DaVita. See ECF 284 at 9-12 (explaining that ECF 242-24, 242-26,
  and 242-27 do not say what Florida Blue claims, and that AKF issued grants to

  patients without regard to whether a patient’s provider was a contributor).
           13. Florida Blue concedes that a federal court has explicitly acknowledged
  that “dialysis providers,” such as DaVita, “have long donated to these charities,”

  notwithstanding Florida Blue’s complaints that such donations are not “charitable.”4
  Florida Blue also ignores its


  3
      The evidence also shows
                                                                                   . See ECF 252-
  1, Ex. 12 at FLBLUE0002971. Florida Blue is not seeking damages for members on Medicare
  Supplement plans, so any “prohibition” against TPP in those plans has no bearing on the case.
  4
    Florida Blue again mischaracterizes testimony and documents which DaVita addressed in its
  opposition to Florida Blue’s motion for partial summary judgment. See ECF 284 at 9, n.7.


                                                3
Case 3:19-cv-00574-BJD-MCR Document 323 Filed 03/04/22 Page 4 of 17 PageID 12887




                                 ECF 252-1, Ex. 9.5 Unable to dispute its knowledge of
  DaVita’s contributions to AKF, Florida Blue attempts misdirection by regurgitating

  “facts” from its own motion, which DaVita has addressed. See ECF 284 at 9-14.6
         14. Florida Blue does not dispute that it regularly provided written approval
  for its members to use TPP. Instead, it cites to its Platinum Plan, which does not

  require all patients to pay patient cost-shares, does not prohibit hardship waivers,
  and does not prohibit TPP. See ECF 252, ¶¶ 26-27; ECF 284 at 4-5. Florida Blue
  claims that any acceptance of TPP was done “unwittingly or due to isolated

  violations of Florida Blue’s policies by individual employees.” ECF 278 at 9. But
  the record shows a pattern and practice by Florida Blue employees and agents of
  accepting AKF payments (with Florida Blue’s consent),


                           . See 252-1, Exs. 11-20.
         22. Florida Blue does not dispute that the standardized and universal UB-04

  claim form does not ask for information on the source of a member’s premium

  5
    Florida Blue cites to OIG Advisory Opinion 97-1 and irrelevant deposition testimony for the
  proposition that “[f]ederal and state law prohibit DaVita and AKF from colluding as described
  above.” See ECF 278 at 8. The OIG Advisory Opinion is just that, an advisory opinion. At most
  it creates a safe harbor with which DaVita complied. It does not, however, have the force of law
  and certainly has nothing to do with Florida state law.
  6
    While Florida Blue makes much of the high degree of correlation between DaVita’s contributions
  to AKF on the one hand, and AKF’s grants to DaVita patients on the other, this should come as no
  surprise since
                            . See ECF 284 at 10.


                                                 4
Case 3:19-cv-00574-BJD-MCR Document 323 Filed 03/04/22 Page 5 of 17 PageID 12888




  payment or whether a patient was “steered.” Florida Blue incorrectly contends that
  information provided on the form was false because DaVita engaged in a “systematic

  waiver of patient cost-sharing amounts,” which DaVita has conclusively
  demonstrated did not occur. See ECF 284-1, ¶¶ 6-12.
        24. DaVita did not routinely waive patient cost-shares, and it has refuted

  Florida Blue’s repeated and flawed mantra that non-collection must mean systematic
  waiver. See ECF 284-1, ¶¶ 6-12. Florida Blue also fails to acknowledge that DaVita
  produced over 31,000 patient billing records showing its reasonable efforts to bill

  and collect from patients. See ECF 284-2, ¶ 45.
        25. Florida Blue “disputes” that DaVita did not induce members to treat with
  DaVita by promising to waive their cost-shares. But the documents Florida Blue

  cites say nothing about waiving patient cost-shares.


                          See ECF 278-29. The other acknowledges that


                        . ECF 278-30. As Florida Blue itself has pointed out, though,
                                                    (ECF 278 at 11) because there are

  clear objective criteria for eligibility (see ECF 252, ¶ 24). And, tellingly, Florida
  Blue does not cite a single member who was “induced” to treat at DaVita.
        27. Florida Blue cannot dispute that its commercial plans did not address TPP

  until January 2017, and even then, did not prohibit TPP. Florida Blue cross-
  references pages 8-9 and 13 of its opposition, but pages 8-9 quote from the Platinum
  Plan, which took effect on January 1, 2017, proving DaVita’s point. See ECF 252-


                                           5
Case 3:19-cv-00574-BJD-MCR Document 323 Filed 03/04/22 Page 6 of 17 PageID 12889




  1, Ex. 30. And page 13 merely points back to pages 8-9. Florida Blue also does not
  dispute that post-2017 plans, such as the Platinum Plan, gave Florida Blue discretion

  to accept TPP, which it did. See ECF 252, ¶¶ 13-14.
        28. Florida Blue merely points back to page 11 of its brief for the proposition
  that DaVita systematically waived cost-shares. This argument has been fully refuted.

  See ECF 284-1, ¶¶ 6-10.
        29. Florida Blue’s 30(b)(6) witness was unable to identify any “
           ” of “        .” See ECF 252, Ex. 30 (Florida Blue 30(b)(6) Dep. 237:8-

  239:1). While Florida Blue claims that its efforts to stop TPP for its Medicare
  Supplement patients had nothing to do with a desire to get its sickest (and most
  expensive) patients off its rolls, the documents speak for themselves. See ECF 252,

  Ex. 33 at FLBLUE0002888 (


                                                     ); at 2892.

        30. As established in DaVita’s SOF,
                                                         . See ECF 252, Ex. 36.
        31. Florida Blue does not dispute that its employee Gabe McGlamery stated

  “
                                                                   .” Instead, Florida Blue
  says he had no decision-making authority, but

                                                            . See ECF 252, Ex. 35.
        32. Florida Blue argues that the reason it
                                                               . The evidence, however,


                                           6
Case 3:19-cv-00574-BJD-MCR Document 323 Filed 03/04/22 Page 7 of 17 PageID 12890




  establishes that one of the reasons was the                       of ESRD patients. See ECF
  252, Ex. 35; see also Ex. 36 (explaining

                             ).
         33. Florida Blue does not deny it received $3 billion under the ACA’s risk
  adjustment program, or that some of that amount was based on ESRD patients, but

  argues DaVita cannot tie that money to the 915 patients for whom Florida Blue
  claims damages. But Florida Blue withheld the information necessary to make those
  specific ties. See ECF 152.7 Moreover, Florida Blue, not DaVita, has the

  responsibility for properly accounting for those funds in its calculation of damages,
  and its purported expert Kevin Cornish admitted he did not do so (ECF 248 at 4-5).
         34. DaVita cited an

                                                                                      . Nothing on
  “pp. 8-9” of the opposition refutes this fact.
  II.    Argument

             A. Breach of Contract
         After multiple rounds of briefing, Florida Blue still cannot identify any basis
  in the Provider Agreement for its contract claim. It is undisputed that the contract

  does not authorize a cause of action for “steering” by DaVita, nor does it prohibit
  contributions to the AKF. And Florida Blue still cannot point to anything in the UB-


  7
    The Court recently denied DaVita’s motion to compel (ECF 97) production of documents that
  would have enabled DaVita to make those ties, in part, because Florida Blue falsely represented
  to the Court that its rate filings are publicly available. See ECF 270 at 5. Florida Blue failed to
  disclose that it redacted all the relevant rate information from those rate filings, and the Florida
  Office of Insurance Regulation has informed DaVita’s expert, Jim Galasso, that it cannot release
  the unredacted rate filings to Mr. Galasso without Florida Blue’s consent.


                                                   7
Case 3:19-cv-00574-BJD-MCR Document 323 Filed 03/04/22 Page 8 of 17 PageID 12891




  04 universal claim form that was false.
        Florida Blue hangs its hat on Section 2.1.1.2, but there is no basis to conclude

  that rendering Services “in compliance with all Laws” extends to anything other than
  outpatient dialysis services. Instead, Florida Blue falsely claims that adopting
  DaVita’s interpretation would “nullify” other provisions within 2.1.1, such as

  2.1.1.7’s requirement that DaVita use “reasonable best efforts to cooperate with and
  participate in surveys,” or 2.1.1.8’s requirement that DaVita comply with Florida
  Blue’s “procedures for Insured-eligibility verification.” ECF 278 at 16. These

  provisions do not speak to compliance with laws. Rather, these are contractual
  obligations DaVita undertook, none of which Florida Blue has alleged DaVita
  breached. DaVita’s interpretation of “compliance with all Laws” does not nullify

  any other provisions of the contract. The Insurance Fraud Statute (“IFS”), Patient
  Brokering Statute (“PBS”), and Anti-Kickback Statute (“AKS”) were not imported
  into Section 2.1.1.2’s “compliance with all Laws” provision.

                    1.       Insurance Fraud Statute
        Even accepting Florida Blue’s overly-expansive reading of Section 2.1.1.2,
  DaVita did not violate the IFS. Contrary to Florida Blue’s arguments DaVita did not

  “unlawfully” pay patient premiums, or “systematically waive[] patient cost-shares.”
  Tellingly, Florida Blue cites no case law supporting its novel theory about the
  meaning of this statute.

        As stated above, it is undisputed the contract did not prohibit DaVita from
  contributing to AKF. DaVita’s contributions to AKF and AKF’s support for ESRD
  patients have been publicly known for years, and Florida Blue affirmatively allowed


                                            8
Case 3:19-cv-00574-BJD-MCR Document 323 Filed 03/04/22 Page 9 of 17 PageID 12892




  its members to use CPA. See ECF 252, ¶¶ 10, 13-14, 21. Florida Blue merely
  assumes that any instance of non-collection was an improper waiver of cost-shares.

  But the record shows that (1)


               ; (2) 47.6% of the time, patients had secondary policies that either

  covered their cost-share or federal law prohibited DaVita from billing the patient;
  (3) in 10.7% of cases, patients had a partial or full hardship waiver; and (4) DaVita
  appropriately billed patients, producing over 31,000 billing records in this case (a

  fact Florida Blue ignores). See ECF 284-1, ¶¶ 6-12.
        Florida Blue’s cited case law is inapposite. Ruckh v. Salus Rehab., LLC,
  involved allegations that the providers billed for more therapy minutes than actually

  spent, billed for more extensive nursing services than actually provided, and
  rendered medically unnecessary services. 963 F.3d 1089, 1104-05 (11th Cir. 2020).
  Here, Florida Blue admits DaVita rendered all the services it submitted claims for

  (see ECF 252, ¶ 23), and has not argued that the dialysis treatments provided were
  medically unnecessary (nor could it, as ESRD patients would die without dialysis).
  Aetna Life Ins. Co. v. Huntingdon Valley Surgery Ctr., concluded that whether an

  out-of-network provider’s routine waiver of patient fees was a violation of the
  Pennsylvania Insurance Fraud statute depended on the language of the billing form
  and rental contract for billing services. 703 F. App’x 126, 133-34 (3d Cir. 2017).

  Finally, Progressive Select Ins. Co. v. Fla. Hosp. Med. Ctr., 236 So. 3d 1183 (Fla.
  5th DCA 2018) involved an out-of-network provider’s “usual and customary
  charge” (i.e., an amount not set by contract) when the provider allegedly had no


                                           9
Case 3:19-cv-00574-BJD-MCR Document 323 Filed 03/04/22 Page 10 of 17 PageID 12893




  intention of collecting cost-shares. Here, the undisputed evidence includes over
  31,000 bills sent by DaVita to its patients, clear evidence of its good faith attempts

  to collect from those patients. Florida Blue has pointed to no specific instances of
  DaVita improperly waiving patient cost-shares. DaVita did not violate the IFS.
                    2.       Patient Brokering Statute

        Florida Blue concedes that (1) AKF does not refer patients to DaVita and (2)
  by the time DaVita patients applied for CPA from AKF, they were already treating
  with DaVita. See ECF 252, ¶¶ 8, 12. Nor were patients induced to treat with DaVita

  by promises of cost-share waivers, as even Florida Blue
                             . See ECF 278 at 11. Nor can Florida Blue point to any
  instances in which DaVita specifically offered to waive cost-shares. DaVita made

  reasonable and good faith attempts to collect from its patients, as shown by the
  voluminous billing records it produced in discovery. See ECF 252-2, ¶ 45. Just as
  fatal is Florida Blue’s failure to cite any case law to support its position. Simply put,

  there were no patient referrals by either AKF or DaVita and no violation of the PBS.
                    3.       Anti-Kickback Statute and Schedule A
        For the reasons set forth in Section II.A.1 and 2 above, DaVita did not violate

  either the AKS or Schedule A. There were no referrals by either AKF or DaVita.
  DaVita appropriately billed patients, and in limited circumstances, provided
  hardship waivers as permitted in Schedule A. It is undisputed that the contract did

  not require Florida Blue’s consent for DaVita to issue hardship waivers and that
  Florida Blue plans did not have any prohibition against hardship waivers. See ECF
  252, ¶¶ 19, 26. Member 1 from Florida Blue’s Complaint, the only member whom


                                             10
Case 3:19-cv-00574-BJD-MCR Document 323 Filed 03/04/22 Page 11 of 17 PageID 12894




  Florida Blue’s 30(b)(6) identified as potentially having had his cost-shares waived,
  was regularly billed by DaVita for dialysis services (see id., ¶ 28). The fact that

  Member 1 did not pay is not the equivalent of systematic waiver.
        With regard to DaVita’s alleged “intentional” waiver of cost-shares, Florida
  Blue suggests that summary judgment is inappropriate on questions of intent, relying

  on Lamarca v. Jansen (In re Bifani), 2014 WL 272920, at *5 (M.D. Fla. Jan. 23,
  2014). The Lamarca court noted, however, that summary judgment was appropriate
  where the evidence “is so one-sided that one party must prevail as a matter of law.”

  Id. (citations omitted). This is such a case. DaVita has demonstrated, without any
  dispute from Florida Blue, that patients were appropriately billed and that hardship
  waivers were the exception and not the rule. See ECF 284-1, ¶¶ 6-12, ECF 284-2, ¶

  45. DaVita did not violate the AKS or Schedule A. As a result, DaVita is entitled to
  summary judgment on Florida Blue’s contract claim.
           B. Breach of Implied Covenant

        DaVita complied with its contractual obligations. As demonstrated above,
  there was no “waiver of patient cost-shares in virtually every instance” (ECF 278 at
  22). Indeed, Florida Blue acknowledges that DaVita

                    Id. at 11. Therefore, DaVita did not abuse any “discretion” it might
  have had under Schedule A. Nor does Florida Blue identify any “explicit” term of
  Section 2.1.1.2 that its breach of implied covenant claim “modifies.” A “compliance

  with all Laws” provision does not afford DaVita with discretion. Thus, there was no
  breach of the implied covenant of good faith and fair dealing, and DaVita is entitled
  to summary judgment on this claim.


                                           11
Case 3:19-cv-00574-BJD-MCR Document 323 Filed 03/04/22 Page 12 of 17 PageID 12895




             C. Tortious Interference
         DaVita has shown that Florida Blue’s member plans did not require patients

  to pay cost-shares in all instances, as evidenced by Florida Blue’s proffered Platinum
  Plan. See ECF 252, ¶¶ 26-27; ECF 284 at 4-5. Nor did plans prohibit members from
  using CPA or prohibit members from receiving hardship waivers. Id. The unrebutted

  evidence establishes that Florida Blue was aware that its members used CPA, gave
  them express written approval to do so, and even facilitated its members’ use of
  CPA. Id. ¶¶ 13-14.8 Tellingly, Florida Blue ignores Oxford Health Plans (N.Y.), Inc.

  v. Biomed Pharms., Inc.,9 which involved a highly similar fact pattern in which the
  trial court’s award of summary judgment in favor of the defendant was affirmed. See
  ECF 284 at 30. DaVita, too, is entitled to summary judgment.

             D. Fraud and Negligent Misrepresentation
         Florida Blue ignores the mountain of evidence of its own awareness (as early
  as 2013, before the contract took effect) and express approval of its members’ use

  of CPA. See ECF 252, ¶¶ 10, 13-14. DaVita did not systematically waive patient
  cost-shares. The evidence shows precisely the opposite. See supra, Section II.A.1.
         Florida Blue attempts to explain away UnitedHealthcare of Fla. v. American

  Renal Associates, No. 16-81180, ECF 473 (S.D. Fla. Mar. 27, 2018) as “an
  unpublished district court opinion not available on any legal database.” ECF 278 at

  8
    As for damages, Florida Blue claims it “does not seek as damages the cost-sharing amounts
  DaVita waived, but rather the amounts Florida Blue paid where its insureds had not satisfied their
  cost-sharing responsibilities due to DaVita’s interference.” ECF 278 at 25. But evidence produced
  by Florida Blue shows there were many instances where patients owed nothing. See M. Noether
  Decl., ECF 284-1, ¶ 6. Therefore, even adopting Florida Blue’s flawed liability arguments, Florida
  Blue’s damages for such patients are zero.
  9
    181 A.D.3d 808, 810, 814-15 (N.Y. App. Div. 2020).


                                                 12
Case 3:19-cv-00574-BJD-MCR Document 323 Filed 03/04/22 Page 13 of 17 PageID 12896




  27. That is beside the point. The case involved the same law firm representing an
  insurer making identical allegations and claims under Florida law against a dialysis

  provider. The court correctly found in favor of the dialysis provider on grounds
  equally applicable here. Florida Blue’s argument that the case involved “services”
  that had been “rendered lawfully” fails to move the needle, as Florida Blue’s

  30(b)(6) witness admitted that it is not contesting that the services DaVita claimed
  reimbursement for were actually rendered. See ECF 252, ¶ 23.10
             E. Civil Conspiracy

         Florida Blue does not dispute that civil conspiracy is not a freestanding claim.
  There is no conspiracy claim without an underlying tort. The evidence shows AKF’s
  grant decisions were independent of whether dialysis providers contributed. See ECF

  252, ¶¶ 10-12. Florida Blue suggests that circumstantial evidence can show an
  agreement to support a conspiracy claim, citing Honig v. Kornfeld, No. 18- 80019-
  CV, 2019 WL 1509666, at *3 (S.D. Fla. Mar. 8, 2019). As the Honig court

  acknowledged though, “[although] a conspiracy may be proven by circumstantial
  evidence, this may be done ‘only when the inference sought to be created by such
  circumstantial evidence outweighs all reasonable inferences to the contrary.’” Id.

  (citations omitted). Here, summary judgment cannot be denied based on a possible
  inference from circumstantial evidence. There is direct and undisputed evidence that

  10
     Florida Blue’s proffered case law largely deals with cases involving wholly different fact
  patterns decided on motions to dismiss. UnitedHealthcare is the closest case on point and should
  be followed. DaVita also advances the independent tort doctrine as an alternative argument to the
  extent Florida Blue is basing its fraud and negligent misrepresentation claims on the same conduct
  that is the basis of its contract claim. But assuming that the contract does not prohibit the conduct
  Florida Blue claims it does (i.e., contributions to AKF), there was no fraud or negligent
  misrepresentation. Florida Blue knew exactly what was going on. See ECF 252, ¶¶ 10, 13-14.


                                                   13
Case 3:19-cv-00574-BJD-MCR Document 323 Filed 03/04/22 Page 14 of 17 PageID 12897




  donations and grant decisions were not linked. See ECF 284 at 10, 12 (discussing
                                                                                              ).

             F. FDUTPA
         UnitedHealthcare is squarely on point. The undisputed evidence shows no
  deceptive conduct that caused Florida Blue “actual damages” under FDUTPA. As

  DaVita previously explained, the court in State Farm Mut. Auto. Ins. Co. v.
  Performance Orthapaedics & Neurosurgery, LLC, did not engage in any reasoning
  on whether the statutes are FDUTPA predicates. Instead, it simply assumed –

  incorrectly – that a M.D. Fla. case concluded that they were predicates. 315 F. Supp.
  3d 1291, 1307 n.14 (S.D. Fla. 2018) (citing Millennium Labs v. Universal Oral Fluid
  Labs., 2012 WL 12905083 (M.D. Fla. Apr. 25, 2012)).11 These statutes are not per

  se predicates of FDUTPA. See ECF 252 at 31 (“[t]aken to an extreme, it would
  morph almost any Florida criminal statute into a FDUTPA predicate”). For the
  reasons discussed in Sections II.C and II.D, there was no fraud or deceit. See ECF

  252, ¶¶ 10, 13-14. DaVita is entitled to summary judgment on the FDUTPA claim.
             G. Unjust Enrichment
         Florida Blue does not contest that the Provider Agreement is a valid and

  enforceable agreement that governs the terms of reimbursement for DaVita’s


  11
     State Farm Mut. Auto. Ins. Co. v. Health & Wellness Servs., 389 F. Supp. 3d 1137 (S.D. Fla.
  2019) and State Farm Mut. Auto. Ins. Co. v. Complete Care Ctrs., No. 6:20-cv-1240, 2021 WL
  2946280 (M.D. Fla. July 12, 2021) both involved defendants that did not dispute that “a violation
  of section 817.234 is a per se violation of FDUTPA.” 389 F. Supp. 3d at 1150. These cases are
  of limited value as DaVita does contest whether the IFS, PBS, or AKS are per se predicates of
  FDUTPA. Further, Marrache v. Bacardi U.S.A., Inc., supports DaVita’s position because it
  dismissed FDUTPA claims for lack of damages and because the complained-of conduct fell into
  a safe harbor for legally permissible conduct. 17 F.4th 1084, 1097-1101 (11th Cir. 2021).


                                                 14
Case 3:19-cv-00574-BJD-MCR Document 323 Filed 03/04/22 Page 15 of 17 PageID 12898




  dialysis services. The unjust enrichment claim fails for this reason alone.12 While
  Florida Blue contends that certain alleged conduct, such as “steering” by DaVita, is

  not covered by the contract, that does not uncouple Florida Blue’s claims for unjust
  enrichment from its contract claim. The terms of reimbursement are expressly
  covered by the contract, so DaVita is entitled to summary judgment on this claim.13

             H. No Damages
         Florida Blue does not contest Gabe McGlamery’s statement that
           insuring ESRD patients or that it received $3 billion from the ACA’s risk

  adjustment program. Nor could it. The undisputed evidence shows that Florida Blue
  suffered no damages, and was already well compensated under the ACA for insuring
  extremely ill ESRD patients. Florida Blue’s claims are further belied by the fact that

  at the time Florida Blue filed this lawsuit in May 2019, there were members treating
  with FMC who were still receiving CPA from AKF. See ECF 252, ¶ 34. This entire
  lawsuit is a money grab, plain and simple.

  III.   Conclusion
         For the foregoing reasons, DaVita’s Motion for Summary Judgment should
  be granted.



  12
     Florida Blue’s cited case law does not apply. For instance, State Farm Fire & Casualty Co. v.
  Silver Star Health & Rehab, 739 F.3d 579 (11th Cir. 2013) did not involve a breach of contract
  claim at all. Here, where there is undisputedly a contract between the parties, there is no need to
  resort to unjust enrichment to create a quasi-contract to support Florida Blue’s claim.
  13
     Both Alberta Ltd. v. Netpaying, Inc., No. 8:10-CV-568, 2011 WL 1103635 (M.D. Fla. Mar. 24,
  2011) and Rosado v. Barry Univ. Inc., 499 F. Supp. 3d 1152, 1160 (S.D. Fla. 2020) acknowledge
  that while claims for breach of contract and unjust enrichment can be pled in the alternative, the
  existence of an express contract between parties defeats a claim for unjust enrichment. Thus, this
  case law supports DaVita’s position, not Florida Blue’s.


                                                  15
Case 3:19-cv-00574-BJD-MCR Document 323 Filed 03/04/22 Page 16 of 17 PageID 12899




  DATED: March 4, 2022               /s/ David W. Marston Jr.
                                     David W. Marston Jr.
                                     Florida Bar No. 0111636
                                     david.marston@morganlewis.com
                                     Valerie M. Toth
                                     Florida Bar No. 0123705
                                     valerie.toth@morganlewis.com
                                     Morgan Lewis & Bockius LLP
                                     600 Brickell Ave., Suite 1600
                                     Miami, Florida 33131-2339
                                     Telephone: 305.415.3000
                                     Facsimile: 305.415.3001

                                     John C. Dodds (admitted pro hac vice)
                                     john.dodds@morganlewis.com
                                     Brian W. Shaffer (admitted pro hac vice)
                                     brian.shaffer@morganlewis.com
                                     Adina D. Bingham (admitted pro hac vice)
                                     adina.bingham@morganlewis.com
                                     Su Jin Kim (admitted pro hac vice)
                                     su.kim@morganlewis.com
                                     1701 Market Street
                                     Philadelphia, PA 19103
                                     Telephone: 215.963.5000
                                     Facsimile: 215.963.5001

                                     Thomas E. Bishop
                                     Florida Bar No. 956236
                                     Bishop & Mills PLLC
                                     One Independent Drive, Suite 1700
                                     Jacksonville, FL 32202
                                     (904) 598-0034 / (904) 598-0395 (fax)
                                     tbishop@bishopmills.com
                                     service@bishopmills.com
                                     Counsel for Defendant DaVita, Inc. f/k/a
                                     DaVita Healthcare Partners Inc.




                                       16
Case 3:19-cv-00574-BJD-MCR Document 323 Filed 03/04/22 Page 17 of 17 PageID 12900




          CERTIFICATE OF ELECTRONIC FILING AND SERVICE
        I hereby certify that a true and correct copy of the foregoing was filed

  electronically and served on all counsel of record on March 4, 2022 via the Court’s
  ECF system.
                                               /s/ David W. Marston Jr.
                                               David W. Marston Jr.




                                          17
